USCA4 Appeal: 07-4115                                           Doc: 187                              Filed: 03/24/2010
                                                              CJA 21 AUTHORIZATION AND VOUCHER FOR EX PERT AND OTHER SERVICES                          Pg: 1 of 1
1. CIR./DIST./DIV. CODE                    2. PERSON REPRESENTED                                                                                       VOUCHER NUMBER
          04C                                         Martin, Paulette
3. MAG. DKT./DEF. NUMBER                                        4. DIST. DKT./DEF. NUMBER                          5. APPEALS DKT./DEF. NUMBER                              6. OTHER DKT. NUMBER
                                                                           8:04-000235-001                                   X:07-004060-001
7. IN CASE/MATTER OF                 (Case Name)                8. PAYMENT CATEGORY                                9. TYPE PERSON REPRESENTED                               10. REPRESENTATION TYPE
                                                                                                                                                                                   (See Instructions)
U.S. v. Martin                                                          Other                                              Appellant                                           Appeal of Trial Disposition
11. OFFENSE(S) CH ARGED (Cite U.S. Code, Title & Section).                           If more than one offense, list (up to five) major offenses charged, according to severity of offense.



                                                                          REQUEST AND AUTHORIZATION FO R EXPERT SERVICES
12. ATTORNEY'S STATEMENT
         As the attorney for the person represented who is named above, I hereby affirm that the services requested are necessary for adequate representation. I hereby request:
        Authorization to obtain the service. Estimated Compensation: $                                    OR
        Approval of services already obtained to be paid for by the United States from the Defender Services Appropriation. (Note: Prior authorization should be obtained for services in excess of $500)


               Signature of Attorney                                                                                                            Date
                    Panel Attorney       Retained Atty         Pro-Se      Legal Organization
           Attorney's name (First name, Middle initial, Last name, including suffix) and mailing address.




                                                                                                                       Telephone Number:
13. DESCRIPTION OF AND JUSTIFICATION FOR SERVICES (See instructions)                                                    14. TYPE OF SERVICE PROVIDER
                                                                                                                        01         Investigator              20       Legal Analyst/Consultant
                                                                                                                        02         Interpreter/Translator    21       Jury Consultant
                                                                                                                        03         Psychologist              22       Mitigation Specialist
                                                                                                                        04         Psychiatrist              23       Duplication Services (See Instructions)
                                                                                                                        05         Polygraph Examiner        24       Other (specify)
                                                                                                                        06         Documents Examiner
15. Court Order
                                                                                                                        07         Fingerprint Analyst
 Financial eligibility of the person represented having been established to the court's satisfaction, the
                                                                                                                        08         Accountant
 authorization requested in Item 12 is hereby granted.
                                                                                                                        09         CALR (Westlaw/Lexis,etc)
                                                                                                                        10         Chemist/Toxicologist
                                                                                                                        11         Ballistics Expert
                                                                                                                        13         Weapons/Firearms/E xplosive Expert
 Signature of Presiding Judicial Officer or By Order of the Court
                                                                                                                        14         Pathologist/Medical Examiner
                                                                                                                        15         Other Medical Expert
 Date of Order                                                 Nunc Pro Tunc Date                                       16         Voice/Audio Analyst
 Repayment o r partial repayment ordered from the person represented for this service at time of authorization.         17         Hair/Fiber Expert
                                                                                                                        18         Computer (Hardware/Software/Systems )
           YES        NO                                                                                                19         Paralegal Services

                                CLAIM FOR SERVICES AND EXPENSES                                                                                                     FOR COURT USE ONLY
16.                   SERVICES AND EXPENSES                                                                                                    MATH/TECHNICAL                               ADDITIONAL
         (Attach itemization of services and expenses with dates)                               AMOUNT CLAIMED                                 ADJUSTED AMOUNT                               REVIEW
      a. Compensation

      b. Travel Expenses ( lodging, parking, meals, mileage, etc.)

      c. Other Expenses

             GRAND TOTALS (CLAIMED AND ADJUSTED):
17. PAYEE'S NAME (First Name, M .I., Last Name, including any suffix) and MAILING ADDRESS



                                                                                                                           TIN:
                                                                                                                           Telephone Number:
       CLAIMANT'S CERTIFICATION FOR PERIOD OF SERVICE FROM                                                                      TO
       CLAIM STATUS       Final              Interim Payment Number                                                                                      Supplemental Payment
       I hereby certify that the above claim is for services rendered and is correct, and that I have not sought o r received payment (compensation or any thing of value) from any other source for these services.

       Signature of Claimant/Payee:                                                                                                           Date:

18. CERTIFICATION OF ATTORNEY:                            I hereby certify that the services were rendered for this case.

       Signature of Attorney:                                                                                                                 Date:

                                                                          APPROVED FOR PAYMENT - COURT USE ONLY
19. TOTAL COMPENS ATION                                         20. TRAVEL EXPENSES                                     21. OTHER EXPENSES                         22. TOT. AMT APPROVED/CER TIFIED


23.        Either the cost (excluding expenses) of these services does not exceed $500, or prior authorization was obtained.
           Prior authorization was not obtained, but in the interest of justice the court finds that timely procurement o f these necessary services could not await prior authorization,
           even though the cost (excluding expenses ) exceeds $500.


           Signature of Presiding Ju dicial Officer                                                         Date                                         Judge/Mag. Judge Code
24. TOTAL COMPENS ATION                                         25. TRAVEL EXPENSES                                     26. OTHER EXPENSES                         27. TOTAL AMOUNT APPROVED


28. PAYMENT APPROVED IN EXCESS OF THE STATUTORY THRESHOLD UNDER 18 U.S.C. 3006 A(e)(3)


           Signature of Chief Judge, Court of App eals (or Delegate)                                        Date                                         Judge Code
